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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,

                     Plaintiff,               Case No. 1:06-cr-126-BLW

 vs.                                          MEMORANDUM DECISION AND
                                              ORDER
 GREGORY FRANK SPEROW,

                     Defendant.



                                      INTRODUCTION

       Pending before the Court is Gregory Frank Sperow’s (“Sperow”) Motion for Order

to Stay the Sale of Santa Rosa Creek Road Property and Emergency Motion for Temporary

Restraining Order and Preliminary Injunction (Dkt. 1282). Having reviewed the Motion,

the Government’s Response (Dkt. 1283), Sperow’s Reply (Dkt. 1284), the underlying

criminal record, and the record in the related § 2255 proceeding (Case No. 1:12-cv-00158-

BLW), the Court enters the following Order denying the Motion.

                                       BACKGROUND

       The Court has recited the factual and procedural background of this case in

numerous prior decisions. However, in order to provide context for consideration of the

pending Motion, the Court provides an abbreviated factual summary but a more detailed

procedural summary regarding the forfeiture issues.



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1.    Factual

      On June 19, 2006, Sperow was indicted by a federal grand jury in the District of

Idaho along with eleven other individuals and charged with drug trafficking, money

laundering, and related forfeitures. Indictment, Dkt. 1. Sperow and five others were also

charged with operating a continuing criminal enterprise from 1975 through June 16,

2006, in over twenty states. Id. The 196-page indictment included 98 predicate acts in

connection with the criminal enterprise count. Id.

      During his approximately thirty years of criminal activity, Sperow was convicted

of drug trafficking charges in the districts of New Mexico, Southern California, and

Oregon and sentenced to terms of incarceration in each case. Prior to the Oregon

conviction, he had been a fugitive for eight years living under an assumed identity. His

drug trafficking and money laundering activities continued during his fugitive years. He

was arrested on May 26, 2004, in Orinda, California, on a District of Oregon warrant.

The prosecution of the Idaho case commenced after the Oregon case was concluded.

2.    Procedural

      After many unsuccessful pre-trial challenges, Sperow ultimately pleaded guilty to

certain charges in the Second Superseding Indictment in return for several concessions by

the Government. He pleaded guilty pursuant to a Federal Rule of Criminal Procedure

11(c)(1)(C) binding Plea Agreement to conspiracy to distribute/possess with intent to

distribute controlled substances in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and

846 (Count Two); conspiracy to launder money in violation of 18 U.S.C. § 1956(h)

(Count Three); drug forfeiture pursuant to 21 U.S.C. § 853(a)(1) and (2) (Count Seven);

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and money-laundering forfeiture pursuant to 18 U.S.C. § 982(a)(1) (Count Eight). Plea

Agreement, Dkt. 666.1 Counts Seven and Eight sought forfeiture of cash proceeds of

$16,000,000 and the property described in Count Six which included thirteen parcels of

real property, thirteen bank accounts, six conveyances including motor vehicles and

aircraft, currency, computer and hard drive, and the property and proceeds of ten

businesses.

        The Plea Agreement contained a waiver of the right to appeal any non-reserved

issues, including forfeiture issues. Plea Agreement at 15. It also contained provisions

whereby Sperow agreed not to contest any forfeiture. Plea Agreement at 10-11.

        As relevant to the pending Motion, the Plea Agreement contained two provisions

conditionally placing limitations on the forfeiture of certain properties. First, it provided

that “in consideration for the defendant’s complete and truthful cooperation,” the

Government would not seize, seek a final order of forfeiture, or sell three specifically

identified properties. The Santa Rosa property was not among those identified. Plea

Agreement at 8-9. Second, the Plea Agreement provided that the Government would not

seize or sell two other identified properties, one of which was the Santa Rosa property,

during the pendency of Sperow’s direct appeal on two reserved issues. Plea Agreement

at 9.




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          The Plea Agreement was amended by interlineation of the parties the day of the plea hearing to
correct an error. For ease of reference, the Court will refer to the Amended Plea Agreement as the “Plea
Agreement.”


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       As reflected in the Judgment, on June 25, 2009, the Court imposed a sentence of

181 months on each of Counts Two and Three to run concurrently. Judgment, Dkt. 883.

The following day, the Court entered a Preliminary Order of Forfeiture covering, inter

alia, the subject Santa Rosa property, forfeiture of which was “to be handled as described

in the Plea Agreement.” Preliminary Order of Forfeiture, Dkt. 872 at 20. Included in the

written Judgment entered July 1, 2009, was a provision that Sperow would forfeit to the

United States his interest in “[a]ll properties set out in the Preliminary Order of

Forfeiture” which had, in turn, referenced the Plea Agreement provision regarding the

Santa Rosa property. Judgment, Dkt. 883 at 6.

       On December 26, 2010, the Ninth Circuit affirmed this Court’s decisions on the

reserved issues on appeal. USCA Mem. Dec., Dkt. 1130. On March 30, 2015, the Court

dismissed Sperow’s timely filed § 2255 Motion on the merits and declined to issue a

certificate of appealability. Mem. Dec. and Order, Case No. 1:12-cv-00158-BLW, Dkt.

61. Among the numerous issues the Court rejected was Sperow’s claim that at the time

of the change of plea hearing, the Government had agreed to return the Santa Rosa

property. Id. at 24; 55-56. On July 9, 2015, the Ninth Circuit denied Sperow’s request

for a certificate of appealability. USCA Order, Civ. Dkt. 65. On September 18, 2015, the

Ninth Circuit denied his motion for reconsideration en banc. USCA Order, Civ. Dkt. 66.

Finally, on March 21, 2016, the United States Supreme Court denied Sperow’s petition

for a writ of certiorari. Ltr. from Sup. Ct., Civ. Dkt. 68.

       Throughout the pendency of the § 2255 proceeding, Sperow filed several motions

in the criminal case including a Motion to Stay Final Order of Forfeiture (Dkt. 1155)

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regarding real property in Lancaster, California, and a Motion for Return of Non-

Forfeited Property, Non-Contraband Property Pursuant to Rule 41(g) (Dkt. 1207).

Recently, he has filed a notice demanding the Government to cease and desist from

collecting rents on another property and advising that he plans to seek a temporary

restraining order and preliminary injunction. Notice to the United States to Cease and

Desist and Refrain from Further Management and Collection of Rents of the Property

Located at 1433/35 Mount Pleasant Street in Los Angeles, Dkt. 1286.

       On December 29, 2016, the Court entered a Final Order of Forfeiture as to Santa

Rosa Property. Dkt. 1257. The Order also granted the Government’s Motion to Strike

Letter of Bruce Borjesson (Dkts. 1254 and 1255). In the letter received and filed with the

Court on October 24, 2016, Mr. Borjesson, as Successor Trustee of the Sperow Family

Trust, had opposed the forfeiture of the Santa Rosa Creek property on the grounds that he

had not had enough time to seek legal counsel on Sperow’s behalf. The Government

requested that the Motion be stricken on the grounds that Mr. Borjesson had not followed

the proper procedure for contesting the forfeiture and that the time for making claims had

expired in 2009.

       On January 13, 2017, Sperow filed a Notice of Appeal of the Final Order of

Forfeiture. Notice of Appeal, Dkt. 1260. That appeal is still pending before the Ninth

Circuit in Case No. 17-30006. On August 25, 2017, he filed the pending Motion to Stay

the Sale of the Santa Rosa property pending resolution of that appeal claiming that he

was not served with the Government’s Motion for Final Order of Forfeiture (Dkt. 1256)

and was thus deprived of the opportunity to challenge the forfeiture in violation of his

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due process rights. He alleges that after filing his opening brief with the Ninth Circuit on

July 31, 2017, he discovered that the property had been posted with a notice of auction.

The Government contends that “[t]he Santa Rosa property is not currently listed for sale

and no sale is imminent at this time.” Affidavit of Kevin T. Maloney, ¶ 5, Dkt. 1283-1.

                                  STANDARD OF LAW

       The analysis required for a temporary restraining order and a preliminary

injunction are “substantially identical.” Stuhlbarg Int’l Sales Co. v. John D. Brush &

Co., 240 F.3d 832, 839 n. 7 (9th Cir. 2001). The party seeking an injunction must show:

(1) a likelihood of success on the merits; (2) a likelihood of irreparable harm in the

absence of preliminary relief; (3) that the balance of equities/hardship tips in their favor;

and (4) that an injunction is in the public interest. Winter v. Natural Res. Def Council,

555 U.S. 7, 20-23 (2008). “[S]erious questions on the merits and a balance of hardships

that tips sharply towards the plaintiff can support issuance of a preliminary injunction, so

long as the plaintiff also shows that there is a likelihood of irreparable injury and that the

injunction is in the public interest.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127,

1135 (9th Cir. 2011). This “sliding scale approach” allows a party to make a lesser

showing of likelihood of success provided he will suffer substantial harm in the absence

of relief. Id. at 1133. Under this approach, however, “serious questions going to the

merits” requires more than showing that “success is more likely than not;” it requires a

plaintiff to demonstrate a “substantial case for relief on the merits.” See Leiva-Perez v.

Holder, 640 F.3d 962, 967-68 (9th Cir. 2011).

                                       DISCUSSION

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       Sperow requests the Court “to protect the status quo” pending appeal of the Final

Order of Forfeiture pertaining to the Santa Rosa property, claiming that he would be

irreparably harmed if he prevailed on appeal but the property had been sold in the

interim. Motion, at 4. Yet, the time for challenging the forfeiture occurred well before

entry of the Final Order of Forfeiture as is evident from a previous similar unsuccessful

forfeiture challenge.

       Sperow has failed to meet the first required showing for a temporary restraining

order or a preliminary injunction – likelihood of success on the merits. Indeed, he has not

even demonstrated that success on appeal is “more likely than not” much less

demonstrated a “substantial case for relief on the merits” that would allow application of

the “sliding scale approach” even if the Court were to assume – which it does not – that

the balance of hardships tips sharply towards him. Significantly, Sperow agreed to forfeit

the Santa Rosa property if he did not prevail on appeal, and he waived the right to contest

any forfeitures. He did not prevail. Next, as indicated above, the Court previously

adjudicated the Santa Rosa property forfeiture issue in the § 2255 proceeding, thus

Sperow is barred from raising it again. See Bravo-Fernandez v. United States, 137 S. Ct.

352, 358 (2016) (issue preclusion “ordinarily bars relitigation of an issue of fact or law

raised and necessarily resolved by a prior judgment.”). Furthermore, whether he received

the Motion for Final Order of Forfeiture is irrelevant. He had ample notice of the

preliminary forfeiture of the Santa Rosa property before sentencing when the Motion for

Preliminary Order of Forfeiture was filed, when the Preliminary Order of Forfeiture was

entered, in open court during his sentencing, and in the written Judgment. See Dkts. 666,

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855, 858, 870, 872, and 883. Finally, the Ninth Circuit previously dismissed as untimely

his appeal of the Final Order of Forfeiture of the Lancaster property. See United States v.

Sperow, No. 11-30132, Order Dkt. 6 (Ninth Circuit Aug. 4, 2011) (finding 2011 appeal

of final order of forfeiture untimely where entry of the preliminary order of forfeiture had

been entered and became final as to Sperow in 2009); id. Dkt. 13 (dismissing appeal as

untimely after Government argued various forms of notice received by Sperow).

Likewise, here, the order of forfeiture of the Santa Rosa property became final as to

Sperow in 2009 or, at the very latest, after he lost on appeal on December 26, 2010.

                                     CONCLUSION

       Sperow’s pending Motion seeking to stay the sale of the Santa Rosa property and

for a temporary restraining order and preliminary injunction is denied based on lack of

foundation, untimeliness, and issue preclusion. Given the failure to demonstrate

likelihood of success on the merits, the Court need not consider the remaining factors.

                                          ORDER

       IT IS ORDERED that Sperow’s Motion for Order to Stay the Sale of Santa Rosa

Creek Property (Dkt. 1282) is DENIED.



                                                 DATED: January 29, 2018


                                                 _________________________
                                                 B. Lynn Winmill
                                                 Chief U.S. District Court Judge


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